         Case 1:16-cv-00749-GMB Document 96 Filed 02/11/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

DAVID POTTER,                                  )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )      CASE NO.: 1:16-cv-749-GMB
                                               )
CITY OF DOTHAN, ALABAMA, et al.,               )      [wo]
                                               )
       Defendants.                             )

                                       ORDER

       This cause is before the court on a Joint Stipulation of Dismissal. Doc. 95. The

parties have consented to the jurisdiction of a Magistrate Judge pursuant to 28 U.S.C.

§ 636(c). Doc. 36, 37 & 38. In light of the Joint Stipulation, it is hereby ORDERED that

this action is dismissed with prejudice, each party to bear its own cost, expenses, and

attorney’s fees.

       DONE this 11th day of February, 2019.
